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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                Fort Lauderdale Division

                                             CASE NO.
    	
    	
    	
    MICHAEL	L.	FLOYD,	
    	
    Plaintiff.	
    	
    vs.	
    	
    Broward	County	Sheriff	Department		
    and	John	Doe,	Deputy	Officers,	
    	
    Defendant.	 	           	      	    	   	    JURY	TRIAL	DEMANDED	
    ____________________________/	
    	
    	
         COMPLAINT FOR FOURTH AMENDMENT VIOATIONS, EXCESSIVE
                               FORCE, ASSAULT AND BATTERY
    	
                                      INTRODUCTION

            1. This is a complaint for damages against the Broward County Sheriff

    Department for the violation of Plaintiff's constitutional and common law rights. Plaintiff

    alleges that John Doe officers of the Broward County Sheriff Department used excessive

    force and committed assault and battery against Plaintiff while Plaintiff was in custody in

    the Main Central intake facility in Broward County. Broward County Sheriff Department

    is liable for its custom and practices of permitting and encouraging such acts. The John

    Doe, deputy officers of Broward County have been encouraged to believe that they could

    violate Plaintiff's constitutional rights by taking such act.
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                                         JURISDICTION

           2. The court has jurisdiction of this action under 42 U.S.C. § 1983 and 28 U.S.C.

    § 1343. Jurisdiction is further invoked pursuant to 28 U.S.C. § 1331.

                                            PARTIES

           3. Plaintiff, MICHAEL L. FLOYD, is a U.S. citizen and resident of the State of

    Florida, Broward County.

           4.   Defendant, John Doe deputy officers of the Broward County Sheriff’s

    Department and others not presently known to the Plaintiff were at all times material to

    this complaint duly appointed police officers of the Broward County Sheriff’s

    Department. At all times material to this complaint, these defendants acted toward

    plaintiff under the color of the statute, ordinances, customs, and usage of the State of

    Florida, Broward County and the Broward County Sheriff’s Department.

           5. Plaintiff sues all defendants in their individual capacities.

           6.		All acts material to this action occurred in Broward County, Florida.

           7. Plaintiff is ignorant of the true name and capacities of defendants sued here as

    John Doe officers, inclusive and therefore sues said defendants by such fictitious names.

    Plaintiff will amend the complaint to allege true names and capacities when ascertained.

    Plaintiff believes and alleges that each of the John Doe defendants is legally responsible

    and liable for the incidents, injuries and damages hereinafter set forth. Each defendant

    proximately caused injuries and damages because of their negligence, breach of duty,

    negligent supervision, management or control and violation of public policy.        Each

    defendant is liable for his or her personal conduct, vicarious or imputed negligence, or

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    breach of duty whether severally or jointly, or whether based upon agency, employment,

    ownership, entrustment, custody, care or control or upon any other act or omission.

    Plaintiff will ask leave to amend this complaint subject to further discovery.

              8. In doing such acts alleged herein, defendants, each of them acted within the

    course and scope of their employment.

              9. In doing the acts and/or omissions alleged herein, defendants and each of them

    acted under color of authority and/or under color of law.

              10. Due to the acts and/or omissions alleged herein, defendants and each of them

    acted as the agent, servant, employee and/or in concert with each of said other defendants

    herein.

              11. Defendant Broward County is at all times herein a county organized and

    existing under the laws of the State of Florida.

              12. At all times the John Doe defendants are employees and are being sued in an

    individual and official capacity as deputies of the Broward County Sheriff Department.



                                              FACTS

              13. On August 22, 2014, Plaintiff was arrested by Detective Guerra and Geiger in

    Fort Lauderdale, Florida.

              14. After said arrest Plaintiff was held in custody at the Broward County Main

    Jail Central Intake.

              15. During this incarceration while under the supervision of Broward Sheriff's

    Office and John Doe defendants, Plaintiff was assaulted, battered and excessive force was

    used on Plaintiff by the John Doe defendants.
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           16. During Mr. Floyd's incarceration John Doe defendants escorted Mr. Floyd to

    a separate cell.

            17.   Once in this separate cell a number of John Doe defendants sprayed

    Mr. Floyd with pepper spray and then assaulted him with numerous kicking and punching

    to the face and body.

            18. During this assault Mr. Floyd was handcuffed and shackled.

            19. Due to this assault and battery Mr. Floyd suffered several physical injuries

    and mental anguish.

            20. Mr. Floyd received treatment at Broward General Hospital once released

    from the jail for said injuries.




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                                                 COUNT	I		

                                         (Assault	and	Battery)	

    PLAINTIFF sues John Doe Defendants and alleges:

               21. Plaintiff realleges the allegations of Paragraphs 1 through 20 as if fully set out

    as to this Count.

               22. John Doe defendants as Deputies of the Broward Sheriff's Department acting

    in the course and scope of their employment did batter, strike and touch Plaintiff without

    the consent of Plaintiff and against his will.

               23. As a result of these actions Plaintiff suffered numerous damages.

               WHEREFORE Plaintiff demands judgment against John Doe defendants for

    compensatory damages and costs of this action and demands a jury trial of all issues so

    triable.

    	

                                                COUNT	II		

                                           (Excessive	Force)	

               Plaintiff sues John Doe Defendants and alleges:

               24. The allegations of paragraphs 1 through 23 are realleged as if fully set out

    herein.

               25.   John Doe, defendants as deputies of the Broward County Sheriff's

    Department acting in the course and scope of employment did use excessive force in their

    conduct of their activities on August 22, 2014 against Plaintiff while incarcerated in the

    Main Central facility of the Broward County Jail.


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           26.   As a result of the actions the plaintiff has suffered numerous damages

    which include bodily injuries and/or physical suffering; physical inconvenience; physical

    discomfort; medical expense; loss of time; mental suffering, embarrassment, humiliation,

    disgrace, and injury to his feelings and reputation; the emotional damage and reputation

    damage are continuing to this day and are likely to continue in the future.

               WHEREFORE, Plaintiff demands judgment against John Doe defendants for

    compensatory damages and costs of this action and demands a jury trial of all issues so

    triable.

               	

                                              COUNT	III	

                   (Violation	of	Fourth	Amendment	of	the	U.S.	Constitution)	

    	

               Plaintiff sues John Doe Defendants and alleges:

               27. The allegations of paragraphs 1 through 26 are realleged as if fully set out

    herein.

               28. John Doe defendants’ above-described conduct violated the Plaintiff's rights

    as provided under the Fourth Amendment to the United States Constitution to be free

    from excessive and/or arbitrary and/or unreasonable use of excessive force against him.

               29. As a result of the actions of John Doe defendants, Plaintiff suffered damages

    which include physical suffering; physical inconvenience; physical discomfort;

    aggravation of an existing medical condition; expense of medical care and treatment. loss

    of time; mental suffering, embarrassment, humiliation, disgrace, and injury to his feelings


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    and reputation; the emotional damage and damage to Plaintiff's reputation and health are

    continuing to this day and are likely to continue in the future.

               WHEREFORE Plaintiff demands judgment against John Doe defendants for

    compensatory damages and costs of this action and requests a jury trial of all issues so

    triable.



                                               COUNT	IV	

                            (Deliberate	Indifference	to	Medical	Needs)	

               30. The allegations of paragraphs 1 through 26 are realleged as if fully set out

    herein.

               31. Plaintiff was entitled to receive necessary medical attention while in the care

    and custody of the John Doe, defendants of the Broward County Sheriff Department.

               33. In doing the acts complained within, John Doe defendant's, each of them

    acted under the color of the state laws deprived the Plaintiff of needed medical care in

    violation of his rights under the Due Process Clause of the Fourteenth Amendment.

               WHEREFORE Plaintiff demands judgment against John Doe defendants for

    compensatory damages and costs of this action and requests a jury trial of all issues so

    triable.

    	
    Respectfully submitted,

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    Jerry D. Haynes, Esq.




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